        CASE 0:13-cv-00266-JRT-FLN Doc. 108 Filed 05/19/14 Page 1 of 12




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MINNESOTA

MICHAEL BOUNDS, FOREST OLIVIER,                       Docket No. 0:13-cv-00266-JRT-FLN
ADAM LUGUNA, WIA DAY, DANIEL
BELL, and ZACHARY LORENZ,
                                                      JURY TRIAL DEMANDED
       Plaintiffs,

       v.

KARL WILLERS, in his official and
individual capacities; CITY OF
HUTCHINSON; KENNETH WILLERS, in his
official and individual capacities; NOBLES
COUNTY; NICHOLAS JACOBSON, in his
official and individual capacities; OLMSTED
COUNTY; BRYCE SCHUENKE, formerly
identified as JOHN DOE #1, in his official and
individual capacities; DAKOTA COUNTY;
JOHN DOE #2, in his official and individual
capacities; PINE COUNTY; CHRIS
MCCALL, in his official and individual
capacities; ANOKA COUNTY; DANIEL
LEWIS, in his official and individual
capacities; STEVE SCHULZ, in his official
and individual capacities; KANABEC
COUNTY; MICHAEL HADLAND, in his
official and individual capacities; and
FILLMORE COUNTY,

       Defendants.

             FIRST AMENDED COMPLAINT AND JURY TRIAL DEMAND

       Plaintiffs Michael Bounds, Forest Olivier, Adam Luguna, Wia Day, Daniel Bell, and

Zachary Lorenz, by and through their counsel, Alan C. Milstein and Michael Dube of Sherman,

Silverstein, Kohl, Rose & Podolsky, P.A., and Nathan M. Hansen, by way of Complaint against

the Defendants herein, hereby say, state, and aver as follows:




                                               -1-
	  
        CASE 0:13-cv-00266-JRT-FLN Doc. 108 Filed 05/19/14 Page 2 of 12




                                         THE PARTIES

       1.      Plaintiffs Michael Bounds, Forest Olivier, Adam Luguna, Wia Day, Daniel Bell,

and Zachary Lorenz are adult individuals who are residents of the State of Minnesota.

       2.      Defendant Karl Willers is a member of the Hutchinson Police Department and an

employee of the Hutchinson Police Department and/or Defendant City of Hutchinson. At all

relevant times, Mr. Willers was a duly authorized police officer deputized to perform official

functions and acting under color of state law. Mr. Willers is being sued in his official and

individual capacities.

       3.      Defendant Kenneth Willers is a member of the Nobles County Sheriff’s Office

and an employee of the Nobles County Sheriff’s Office and/or Defendant Nobles County. At all

relevant times, Mr. Willers was a duly authorized police officer deputized to perform official

functions and acting under color of state law. Mr. Willers is being sued in his official and

individual capacities.

       4.      Defendant Nicholas Jacobson is a member of the Olmsted County Sheriff’s Office

and an employee of the Olmsted County Sheriff’s Office and/or Defendant Olmsted County. At

all relevant times, Mr. Jacobson was a duly authorized police officer deputized to perform

official functions and acting under color of state law. Mr. Jacobson is being sued in his official

and individual capacities.

       5.      Defendant Bryce Schuenke (formerly identified as John Doe #1) is a member of

the Dakota County Sheriff’s Office and an employee of the Dakota County Sheriff’s Office

and/or Defendant Dakota County. At all relevant times, Mr. Schuenke was a duly authorized

police officer deputized to perform official functions and acting under color of state law. Mr.

Schuenke is being sued in his official and individual capacities.



                                                -2-
	  
          CASE 0:13-cv-00266-JRT-FLN Doc. 108 Filed 05/19/14 Page 3 of 12




        6.       Defendant John Doe #2 is believed to be an employee of Defendant Pine County

but could be employed by another county. At all relevant times, John Doe #2 was a duly

authorized police officer deputized to perform official functions and acting under color of state

law. John Doe #2 is being sued in his official and individual capacities.

        7.       Defendant Chris McCall is a member of the Anoka County Sheriff’s Office and

an employee of the Anoka County Sheriff’s Office and/or Defendant Anoka County. At all

relevant times, Mr. McCall was a duly authorized police officer deputized to perform official

functions and acting under color of state law. Mr. McCall is being sued in his official and

individual capacities.

        8.       Defendants Daniel Lewis and Steve Schulz are members of the Kanabec County

Sheriff’s Office, and employees of the Kanabec County Sheriff’s Office and/or Defendant

Kanabec County. At all relevant times, these individuals were duly authorized police officers

deputized to perform official functions and acting under color of state law. These individuals are

being sued in their official and individual capacities.

        9.       Defendant Michael Hadland is a member of the Fillmore County Sheriff’s Office

and an employee of the Fillmore County Sheriff’s Office and/or Defendant Fillmore County. At

all relevant times, Mr. Hadland was a duly authorized police officer deputized to perform official

functions and acting under color of state law. Mr. Hadland is being sued in his official and

individual capacities.	  

                              SUBJECT MATTER JURISDICTION

        10.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331, which provides that “[t]he district courts shall have original jurisdiction of all civil actions

arising under the Constitution, laws, or treaties of the United States,” because this civil action

arises under the Constitution and laws of the United States.
                                                  -3-
	  
         CASE 0:13-cv-00266-JRT-FLN Doc. 108 Filed 05/19/14 Page 4 of 12




                              FACTS COMMON TO ALL COUNTS

                                                    I.

        11.     The Defendants individually and collectively designed, developed, and/or ran a

program called the “Drug Recognition Evaluators” program (“DRE Program” or “Program”).

        12.     The DRE Program was essentially an unethical clinical trial whereby armed

police officers provided vulnerable members of the public with substantial quantities of

marijuana (presumably obtained from police evidence in other cases), encouraged them to get

high, observed them, and then abandoned them while they were still high.

        13.     This Program purportedly existed for the purpose of allowing law enforcement to

understand what individuals look and act like while high.

        14.     In actuality, the parties that designed and ran the Program wished to target

members of Occupy Minneapolis, members of the homeless population, and other vulnerable

members of the population and see what quantity of drugs their bodies could tolerate.

        15.     Indeed, officers running the Program were instructed to specifically target Occupy

Minneapolis protesters exercising their First Amendment right to free speech and peaceable

assembly, and in fact targeted such individuals.

        16.     Officers running the Program were also instructed to specifically target vulnerable

members of the population, including homeless individuals and individuals addicted to illegal

drugs such as cocaine and heroin, and in fact targeted such individuals.

        17.     The targeted individuals were taken into police custody, provided with substantial

quantities of drugs (principally marijuana) by the police, observed by the police while under the

influence of the drugs, and then simply released onto the streets in a high and incoherent state.

        18.     Any officers who did not actually participate in this aspect of the Program knew

about it, and failed to stop it, in reckless disregard of the Plaintiffs’ rights.
                                                   -4-
	  
           CASE 0:13-cv-00266-JRT-FLN Doc. 108 Filed 05/19/14 Page 5 of 12




       19.        Additionally, the parties that designed and ran the Program authorized providing,

and actually provided, cash or other consideration (such as food, cigarettes, and even illegal

drugs to take home) to members of the public in exchange for participation, and sometimes

intimated to the “volunteers” that they would be arrested if they did not participate.

       20.        The Plaintiffs and other “participants” were not provided with an informed

consent form, nor could any consent have ever been truly voluntary.

       21.        The Plaintiffs and other “participants” were not asked to supply any medical

history.

       22.        The Defendants’ conduct was contrary to (among other things) the Plaintiffs’ First

Amendment right to free speech and peaceable assembly, the Plaintiffs’ Fourteenth Amendment

rights to bodily integrity, essential human dignity, and privacy, and other rights secured by the

Bill of Rights.

       23.        The Belmont Report, issued in 1979 by the National Commission for the

Protection of Research Subjects in Biomedical and Behavioral Research, sets forth three

principles to guide human subject research. It provides that, for human subject research to be

ethical, the research must be designed in accordance with “the ethical principles of Respect for

Persons, Beneficence and Justice.” See http://ohsr.od.nih.gov/guidelines/ (last visited December

16, 2012).

       24.        The DRE Program was contrary to the principle of Respect for Persons because it

treated the human subjects as guinea pigs, if not worse.

       25.        The DRE Program was contrary to the principle of Beneficence because the risk

of injury to human subjects who would be given large quantities of marijuana, observed, and

then dropped off in the middle of a major metropolitan area while still in a highly altered state

was more than minimal and was outweighed by any possible benefits.
                                                  -5-
	  
                                                                  CASE 0:13-cv-00266-JRT-FLN Doc. 108 Filed 05/19/14 Page 6 of 12




                                                           26.                                                        The DRE Program was contrary to the principle of Justice because the experiment

exclusively targeted those exercising their free speech rights, the economically disadvantaged,

and other vulnerable members of the population.

                                                           27.                                                        In 1991, federal regulations governing human subject research were integrated

into the “Common Rule,” the most familiar incarnation of which is the Department of Heath and

Human Services regulations found at 45 C.F.R. § 46.101, et seq.                                                                                                                                                                                           These federal regulations,

among other things, detail the conditions required for obtaining informed consent and what

information must be provided under those conditions, restrict experiments to those in which risks

are minimized, require the equitable selection of research subjects, and establish the requirement

of institutional review boards.

                                                           28.                                                        The experiment was contrary to the requirements of the Common Rule in virtually

every respect.

                                                                                                                                                                                                                                                    II.

                                                           29.                                                        Plaintiff Michael Bounds, a member of the Occupy Minneapolis movement,

suffers from epilepsy and schizophrenia.

                                                           30.                                                        On or around April 26, 2012, Mr. Bounds encountered two armed officers

participating in the DRE Program, namely Bryce Schuenke of Dakota County1 and John Doe #2,

an unknown officer most likely from Pine County.

                                                           31.                                                        Mr. Bounds was asked whether he was high; he responded that he was not. One

of the officers in turn responded, “That’s alright, we’ll get you high.”

                                                           32.                                                        Officers then provided him with a substantial quantity of powerful marijuana.




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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                                                                        Mr. Schuenke was identified John Doe #1 in the Plaintiff’s initial Complaint [Docket
No. 1].
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        CASE 0:13-cv-00266-JRT-FLN Doc. 108 Filed 05/19/14 Page 7 of 12




       33.     Officers did not conduct any evaluation of him afterwards; rather, he was simply

released in downtown Minneapolis while high.

       34.     Mr. Bounds was also given a quarter of a baggie filled with marijuana to take

home in “exchange” for information on the Occupy Minneapolis movement.

       35.     On three separate occasions on or around April 27, 2012, Plaintiff Forest Olivier,

also an Occupy member, was approached by armed law enforcement (including Chris McCall,

Bryce Schuenke, Karl Willers or Kenneth Willers, Daniel Lewis or Steve Schulz, Nicholas

Jacobson, and Michael Hadland) and offered substantial quantities of drugs.

       36.     On the first occasion, Mr. Olivier was approached by Chris McCall of Anoka

County and Bryce Schuenke of Dakota County. Mr. Olivier was given eight pipe bowls worth of

marijuana, taken to a testing facility to be evaluated, evaluated there, and then returned to Peavey

Plaza, where the Occupy protesters were gathered.

       37.     On the second occasion, Mr. Olivier was approached by either Karl Willers of the

City of Hutchinson or Kenneth Willers of Nobles County, either Daniel Lewis or Steve Schulz of

Kanabec County, and Nicholas Jacobson of Olmsted County, given ten or more pipe bowls

worth of marijuana, taken to the facility to be evaluated, and then returned to Peavey Plaza.

       38.     On the third occasion, Mr. Olivier was approached by Nicholas Jacobson of

Olmsted County and Michael Hadland of Fillmore County.

       39.     These officers asked Mr. Olivier whether he was in possession of any marijuana,

to which Mr. Olivier responded no.

       40.     Thereafter, these officers placed Mr. Olivier in the back of a squad car, and placed

his personal belongings in the trunk of the vehicle.

       41.     One of these officers then provided Mr. Olivier with a substantial quantity of

marijuana, which Mr. Olivier smoked in the back of the squad car.
                                                -7-
	  
        CASE 0:13-cv-00266-JRT-FLN Doc. 108 Filed 05/19/14 Page 8 of 12




       42.    Thereafter, Mr. Olivier was taken to the testing facility, at which point other law

enforcement officials refused to let Mr. Olivier in because they identified him as being

associated with Occupy Minneapolis, and were wary of footage of the Program that Occupy

Minneapolis had posted on YouTube.

       43.    Thereafter, Mr. Olivier was taken back downtown and released onto the streets

while incredibly high.

       44.    Plaintiff Adam Luguna was picked up by Officers Schuenke and Hadland, taken

out to the examination facility roughly twenty minutes away, provided with marijuana,

subsequently examined by an unidentified police officer, and released while high.

       45.    Plaintiff Wia Day was picked up by Officers Lewis and Schulz and brought out to

the testing facility. At that point, Officers Lewis and Schulz provided Ms. Day with marijuana,

which Ms. Day smoked, and brought Ms. Day in for testing.

       46.    Plaintiffs Daniel Bell and Zachary Lorenz, who are step-brothers, were also

picked up by Officers Lewis and Schulz and brought out to the same testing facility. At that

point, Officers Lewis and Schulz provided Messrs. Bell and Lorenz with marijuana, which

Messrs. Bell and Lorenz smoked, and brought Messrs. Bell and Lorenz in for testing.

       47.    Officers Lewis and Schulz then gave Messrs. Bell and Lorenz two or three grams

of extremely powerful marijuana to take with them.

       48.    Mr. Lorenz was determined to be incompetent when he was eighteen or nineteen

years old.

       49.    The Defendants’ unethical and illegal conduct was first brought to light by

Occupy Minneapolis; in response, officers falsely denied the allegations and attempted to cast

doubts upon the truthfulness of the Occupy members.



                                              -8-
	  
        CASE 0:13-cv-00266-JRT-FLN Doc. 108 Filed 05/19/14 Page 9 of 12




       50.      Thereafter, certain officers participating in the program (such as Deputy Andrew

James Mahowald of the Chisago County Sheriff’s Office) began making the same allegations,

which triggered an investigation by the Minnesota Bureau of Criminal Apprehension (“Bureau”).

       51.      Indeed, Officer Mahowald personally witnessed Mr. Olivier being provided drugs

by an Officer Willers, and provided details to the Bureau during the investigation.

       52.      Tellingly, six police officers (including but not limited to Officer Karl Willers and

Officer Schuenke) refused to provide statements to the Bureau.

       53.      During the investigation, one officer testified as to his belief that instructors

“skirted the line” in connection with the Program, while another testified that “morals are gone.”

       54.      On August 7, 2013, the Star Tribune reported that Karl Willers “admitted to

superiors last fall that he gave people marijuana as part of a state training exercise in

Minneapolis.”

       55.      The paper further reported that “Karl Willers[] also told his department that

between 30 and 40 percent of his training class distributed narcotics in order to perform

observations … .”

       56.      After these abuses came to light, the DRE Program was suspended.

       57.      As a result of the Defendants’ individual and collective wrongdoing, the Plaintiffs

have suffered physical and emotional damages and harm, and been deprived of their well-

established rights under the United States Constitution and federal law.

             COUNT ONE – LIABILITY UNDER 42 U.S.C. §§ 1983 AND 1988

       58.      The Plaintiffs repeat the foregoing allegations as if fully set forth herein.

       59.      42 U.S.C. § 1983 provides, in pertinent part, as follows: “Every person who,

under color of any statute, ordinance, regulation, custom, or usage, of any State or Territory or

the District of Columbia, subjects, or causes to be subjected, any citizen of the United States or
                                                  -9-
	  
        CASE 0:13-cv-00266-JRT-FLN Doc. 108 Filed 05/19/14 Page 10 of 12




other person within the jurisdiction thereof to the deprivation of any rights, privileges, or

immunities secured by the Constitution and laws, shall be liable to the party injured in any action

at law, suit in equity, or other proper proceeding for redress.”

       60.     The Defendants are all “persons” within the ambit of 42 U.S.C. § 1983.

       61.     The Defendants acted “under color of” state law because they exercised power

“possessed by virtue of state law and made possible only because the wrongdoer is clothed with

the authority of state law.” See West v. Atkins, 487 U.S. 42, 49 (1988) (quoting United States v.

Classic, 313 U.S. 299, 326 (1941). Indeed, it could not be more well-established that police

officers act under color of state law. See Monroe v. Pape, 365 U.S. 167, 172 (1961). Moreover,

the Defendants acted within the actual and apparent scope of their authority and office.

       62.     Furthermore, the police officers were acting in accordance within the official

policy and custom of the Defendant counties and municipalities, including but not limited to

their employers’ negligent training or failure to train about (1) providing illegal drugs to

members of the public, (2) experimenting upon the public, (3) targeting individuals exercising

First Amendment rights, and (4) reporting misconduct by fellow police officers.

       63.     There was a direct and proximate causal connection between the Defendants’

wrongful conduct and the harm and damages that resulted.

       64.     The Defendants’ conduct deprived the Plaintiffs of their rights under the First and

Fourteenth Amendments to the United States Constitution, and other rights secured by the Bill of

Rights, as well as other federally secured rights, and failed to protect the Plaintiffs from injury.

       65.     The Defendants’ conduct was “arbitrary, or conscience shocking, in a

constitutional sense.” See Board of Regents v. Tomanio, 446 U.S. 478 (1980).

       66.     Indeed, the Defendants’ conduct “clearly established statutory or constitutional

rights of which a reasonable person would have known.”             Harlow v. Fitzgerald, 457 U.S. 800
                                                 -10-
	  
          CASE 0:13-cv-00266-JRT-FLN Doc. 108 Filed 05/19/14 Page 11 of 12




(1982). A version of the DRE Program exists in other states, and, on information and belief,

there has been no other situation in which police officers actually offered illegal drugs to

members of the public.

          67.    The Defendants acted with deliberate indifference towards the Plaintiffs’ medical

needs, recklessly disregarded their rights, and acted with an improper motivation.

          68.    The Defendants had no legitimate, much less compelling, reason to perform an

experiment of the nature described herein upon members of Occupy Minneapolis, Minneapolis’

poor population, or anyone at all.

          69.    The Plaintiffs seek from the Defendants all legally recoverable damages,

including but not limited to compensatory and punitive damages, and dignity damages, as well as

their attorney’s fees, litigation expenses, and court costs. See 42 U.S.C. § 1983; accord id. §

1988.

          WHEREFORE, the Plaintiffs demand a judgment in their favor, and against the

Defendants, in an amount exceeding $1,000,000, compensatory damages, punitive damages,

dignity damages, attorney’s fees, litigation expenses, and court costs.

                                  DEMAND FOR JURY TRIAL

          The Plaintiffs hereby demand a trial by twelve (12) jurors as to all counts and causes of

action.

Dated: Monday, May 19, 2014                    Respectfully submitted,

                                               LAW OFFICES OF NATHAN M. HANSEN

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                                                -11-
	  
       CASE 0:13-cv-00266-JRT-FLN Doc. 108 Filed 05/19/14 Page 12 of 12




                                    - and -

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                                     -12-
	  
